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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 __________________________________________
 IN RE: COOK MEDICAL, INC, IVC FILTERS
 MARKETING, SALES PRACTICES AND                Master Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                 MDL No. 2570
 __________________________________________

 This Document Relates to:
 Plaintiffs listed in Exhibit A




         Considering the parties’ Stipulated Dismissal with Prejudice:

         IT IS HEREBY ORDERED, ADJUDGED AND DECLARED that all claims of

 Plaintiff(s) against the Cook Defendants in this Action are hereby dismissed with prejudice. The

 Complaint of Plaintiffs’ listed in Exhibit A attached hereto are hereby dismissed in entirety, with

 prejudice. Each party shall bear its own costs.

 Signed this       day of                                     , 20           .
 SO ORDERED this 10th day August 2022.




                                               HONORABLE RICHARD L. YOUNG
                                               UNITED STATES DISTRICT JUDGE
                                               SOUTHERN DISTRICT OF INDIANA




   Distributed Electronically to Registered Counsel of Record




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                                   EXHIBIT A
                   Plaintiff Name            Filing No.
                   McMullin, Tarrance B.     1:16-cv-00216
                   Mann, Heather A.          1:16-cv-00240
                   Ortiz, Kristi J.          1:16-cv-00244
                   Mafield, David            1:16-cv-00251
                   Madison, Charles Edward   1:16-cv-01985
                   Molsbee, Wanda G.         1:17-cv-01132
                   Lee, Mark A.              1:17-cv-01951
                   Macdonald, Liam           1:17-cv-01952
                   Mack, Daniel A.           1:17-cv-01953
                   Matuszak, Thomas J.       1:17-cv-01955
                   McNeil, Debbie            1:17-cv-01979
                   Miller, John George       1:17-cv-01981
                   Mobley, Allen             1:17-cv-01984
                   Norberg, Donald E.        1:17-cv-01988
                   Peterson, Elvin           1:17-cv-01989
                   Payne, Terry L.           1:17-cv-02123
                   Milczarzyk, Frank         1:17-cv-03172
                   Molina-Ortiz, Carmen      1:17-cv-03173
                   Leslie, Susan E.          1:17-cv-03205
                   Lowe, Santana L.          1:17-cv-03206
                   Lozano, Salvador B.       1:17-cv-03213
                   Lunsford, Karen D.        1:17-cv-03214
                   McCant, Rosemary          1:17-cv-03218
                   Mendoza, Delia            1:17-cv-03220
                   Pile, Andrew T.           1:17-cv-03222
                   Potts, Lawrence A.        1:17-cv-03224
                   Lundy, James W.           1:17-cv-03245
                   Patterson, Douglas W.     1:17-cv-03246
                   Mustardo, Robert          1:17-cv-03701
                   Lemieux, Diana M.         1:17-cv-03716
                   McGuire, Randall          1:17-cv-03730
                   Polk, Lewis               1:17-cv-03766
                   Perry, Lola M.            1:17-cv-03768
                   Phillips, Robert L.       1:17-cv-03847
                   McCabe, Carolyn           1:17-cv-03850
                   Melvin, Mary B.           1:17-cv-03862
                   Pouliot, Assunta          1:17-cv-03868
                   McGhee, Dolores J.        1:17-cv-03902


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                   Morin, Norman J.          1:17-cv-03903
                   McConito, Dorothy         1:17-cv-03931
                   Pearson, Ernestine        1:17-cv-03934
                   Lewis-Prothro, Denise     1:17-cv-03935
                   McKown, Sherri C.         1:17-cv-04062
                   Lozano, Jorge A.          1:17-cv-04081
                   McKenzie, Geraldine       1:17-cv-04083
                   Matson, Chad E.           1:17-cv-04131
                   Miller, Suzanne           1:17-cv-04183
                   Pitts, Eileen             1:17-cv-04186
                   Lewis, Carolyn            1:17-cv-04223
                   Maier, Adolph             1:17-cv-04253
                   Metz, Thomas G.           1:17-cv-04260
                   McClure, Lisa             1:17-cv-04436
                   Loftis, John F.           1:17-cv-04452
                   Pepper, Arlan G.          1:17-cv-04497
                   Leahr, Thelma             1:18-cv-00684
                   Lecklikner, Philip        1:18-cv-00685
                   Lord, Jann M.             1:18-cv-00686
                   Manning, Willie           1:18-cv-00687
                   Marshall, Denise          1:18-cv-00688
                   McConville, Michael       1:18-cv-00708
                   Mitchell, Annette         1:18-cv-00747
                   Nester, Delores J.        1:18-cv-00843
                   Parker, Michael L.        1:18-cv-00847
                   Lee, Wanda                1:18-cv-01290
                   Pruden, Richard W.        1:18-cv-03875
                   Locke, Lauren N.          1:19-cv-00927
                   Massey, Yvetta L.         1:19-cv-01540
                   Metcalf, Valerie D.       1:19-cv-01631
                   McGinnis, Joy             1:19-cv-01675
                   Powell, Richard T.        1:19-cv-01775
                   Meighan, Grace A.         1:19-cv-01792
                   Prothe, Lester A.         1:19-cv-01795
                   Muff, Leonard             1:19-cv-01881
                   Morris, Richard Allen     1:19-cv-01967
                   Navarro, Consolacion F.   1:19-cv-02001
                   Muscarello, James Kevin   1:19-cv-02094
                   Pope, Cheryl Lynn         1:19-cv-02340
                   Pegg, Daniel Lynn         1:19-cv-02536
                   Murphy, Raymond           1:19-cv-02747


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                   Proffitt, Ward Douglas      1:19-cv-02763
                   McClain, Willie             1:19-cv-02771
                   Lopez, Jose Antonio         1:19-cv-02772
                   Middleton, Deborah L.       1:19-cv-02969
                   Page, Joyce Marie           1:19-cv-02990
                   Nicholson, Cheryl Jean      1:19-cv-03114
                   Marshall, Virginia D.       1:19-cv-03116
                   Plum, Jerry Ruth            1:19-cv-03177
                   McKenna, Joseph             1:19-cv-03236
                   Mangold, Raymond            1:19-cv-03237
                   Moore, Tiwonna R.           1:19-cv-03240
                   Moschetto, Elizabeth Ann    1:19-cv-03379
                   Ledlow, Mike                1:19-cv-03525
                   Meadows, Kimberly           1:19-cv-03587
                   Popham, Tony                1:19-cv-03790
                   Miller, George Edward Jr.   1:20-cv-00689
                   Mack, Mary                  1:20-cv-00690
                   Mulero, Edwin               1:20-cv-02967
                   Lott, Rodney                1:20-cv-03244
                   Myers, Bonnie               1:21-cv-00060
                   Nicolls, Theresa            1:21-cv-00144




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